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 1   ANDRUS WAGSTAFF, PC
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14
                                UNITED STATES DISTRICT COURT
15
                             NORTHERN DISTRICT OF CALIFORNIA
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                                            )
18   IN RE: ROUNDUP PRODUCTS                )   MDL 2741
     LIABILITY LITIGATION                   )   Case No. 16-md-02741-VC
19                                          )
                                            )
20   THIS DOCUMENT RELATES TO:              )   DECLARATION OF AIMEE H.
                                            )   WAGSTAFF IN SUPPORT OF
21                                          )   PLAINTIFFS’ MOTION IN LIMINE
                                            )   NO. 2
22   HARDEMAN V. MONSANTO COMPANY           )
                                            )
23                                          )
     Case No.: 3:16-cv-00525-VC             )
24                                          )
25                                          )
                                            )
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     Wagstaff Declaration ISO Plaintiff’s                      Case No. 3:16-cv-00525-VC
     Motion in Limine
            Case 3:16-md-02741-VC Document 2590-1 Filed 01/30/19 Page 2 of 3



 1          I, Aimee H. Wagstaff, hereby declare as follows:

 2          1. I am an attorney duly admitted to practice before this Court. I am a partner at Andrus

 3   Wagstaff P.C., and designated as co-lead counsel for plaintiffs in MDL No. 2741. I submit this

 4   Declaration in support of Plaintiffs’ Motion in Limine no. 2.

 5          2. Attached hereto as Exhibit 1 is a true and correct copy of Transcript of Proceedings

 6   from Oct. 29, 2018.

 7          3. Attached hereto as Exhibit 2 is a true and correct copy of a portion of the Grossbard

 8   report regarding Plaintiff Hardeman with respect to general causation opinions on

 9   epidemiological evidence related to glyphosate.

10          4. Attached hereto as Exhibit 3 is a true and correct copy of a portion of the Grossbard

11   report regarding Plaintiff Gebeyehou with respect to general causation opinions on

12   epidemiological evidence related to glyphosate.

13          5. Attached hereto as Exhibit 4 is a true and correct copy of a portion of the Levine

14   report regarding Plaintiff Hardeman with respect to general causation opinions on

15   epidemiological evidence related to glyphosate.

16          6. Attached hereto as Exhibit 5 is a true and correct copy of a portion of the Steidl report

17   regarding Plaintiff Hardeman with respect to general causation opinions on epidemiological

18   evidence, toxicology, and mechanistic data related to glyphosate.

19          7. Attached hereto as Exhibit 6 is a true and correct copy of a portion of the Bello report

20   regarding Plaintiff Stevick with respect to general causation opinions on epidemiological

21   evidence related to glyphosate.

22          8. Attached hereto as Exhibit 7 is a true and correct copy of a portion of the Villablanca

23   report regarding Plaintiff Stevick with respect to general causation opinions on regulatory

24   agencies and epidemiological evidence related to glyphosate.

25          9. Attached hereto as Exhibit 8 is a true and correct copy of the Fleming report

26   regarding Plaintiff Gebeyehou

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     Wagstaff Declaration ISO Plaintiff’s                                Case No. 3:16-cv-00525-VC
     Motion in Limine
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 1   I declare under penalty of perjury that the foregoing is true and correct.

 2

 3   DATED: January 30, 2019                       Respectfully submitted,
                                                   /s/ Aimee Wagstaff
 4
                                                   ANDRUS WAGSTAFF, PC
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     Wagstaff Declaration ISO Plaintiff’s                                  Case No. 3:16-cv-00525-VC
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